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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
                                     )
      v.                             )  CRIMINAL NO. 96-10047-REK
                                     )
                                     )
TERENCE WILLIAMS,                   )
      Defendant                     )
____________________________________)


                                    Memorandum and Order
                                        May 17, 2006

                                        I. Pending Matters

               Pending for decision are matters related to the following filing:

               (1) Defendant’s Petition Pursuant to Fed.R.Civ.P. 60(b)(6) (Docket No. 841, filed

October 28, 2005).



                        II. Factual Background and Procedural History

               The facts of this case are stated in detail in my Memorandum and Order of October

26, 2004 (Docket No. 840).



                                           III. Analysis

A. Williams’s Instant Petition

               Within his Rule 60(b)(6) petition, Williams argues that this court should reconsider

its “Judgment of Conviction entered against him on the 15th day of October, 1999.” (Docket No.

841 at 1.) By its nature, Williams’s petition is not a motion for reconsideration of any particular
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ruling at all but is instead a petition to attack the statutory basis of his conviction. (See id. at 6

(arguing about “the district court’s lack of subject matter jurisdiction to impose a sentence that

exceeds the lowest penalty provision of U.S.S.G. § 2D1.1”).) Williams’s self-styled Rule 60(b)(6)

petition is thus not a motion for reconsideration at all and is instead a motion pursuant to 28

U.S.C. § 2255 (1996).

                Similar to my decision to recharacterize Williams’s last mislabeled Rule 60(b)

petition, where he raised the same argument that he raises here, (see Docket No. 839), as a §

2255 motion (see Docket No. 840 (noting that “[s]ince [Williams’s petition] attacks the

constitutional and statutory basis of...Williams’ conviction, it is more properly filed as a § 2255

motion”)), I will consider his instant petition as a successive § 2255 motion. For the same reasons

stated within my Memorandum and Order of October 26, 2004, I dismiss Williams’s instant

petition.

B. New Support

                The primary difference between the instant petition and Williams’s previous § 2255

motion is that he says he has new support for his previously considered arguments. The petitioner

now argues that a Supreme Court case, Gonzalez v. Crosby, 125 S.Ct. 2641 (2005), supports

consideration of his motion under Rule 60(b) rather than under § 2255, and that two cases from

the United States Court of Appeals for the Second Circuit, United States v. Gonzalez, 420 F.3d

111 (2nd Cir. 2005), and United States v. Cordoba-Murgas, 422 F.3d 65 (2nd Cir. 2005), support

his previously considered argument, (see Docket No. 839 (arguing that “court lacked jurisdiction

to impose an illegal sentence” on Williams)). Williams’s new support is not convincing for two

reasons.


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               First, Crosby involved the interaction between § 2254 and Rule 60(b), not the

interaction between § 2255 and Rule 60(b). Crosby, 125 S.Ct. at 2647. In fact, Crosby states:

                       In this case we consider only the extent to which Rule 60(b)
                       applies to habeas proceedings under 28 U.S.C. § 2254, which
                       governs federal habeas relief for prisoners convicted in state
                       court. Federal prisoners generally seek postconviction relief
                       under § 2255, which contains its own provision governing
                       second or successive applications. Although that portion of
                       § 2255 is similar to, and refers to, the statutory subsection
                       applicable to second or successive § 2254 petitions, it is not
                       identical. Accordingly, we limit our consideration to § 2254
                       cases.

Id. at 2646 n. 3 (emphasis added). Thus, Crosby is inapplicable to Williams’s case.

               Second, decisions of circuits outside of the First Circuit, such as Gonzalez and

Cordoba-Murgas, provide authority that is merely persuasive, not controlling. See H.B. Zachry

Co. v. Abengoa Puerto Rico, S.E., No. 01-2032(DRD), 2003 WL 23315961, at *4, n. 2 (D.P.R.

Jan. 21, 2003) (noting that precedent plaintiff cited for proposition was “merely persuasive, not

controlling” because it was not on point with issue in case and was not from same district, First

Circuit, or Supreme Court). Thus, without even reaching the merits of these decisions, I am not

mandated to change a previous judgment because of the holdings of these two cases. Moreover,

Williams’s new support is supposed to buttress the same argument raised in his last § 2255

motion that I denied. Thus, the petitioner’s argument again fails, and his § 2255 petition is to be

dismissed.

C. Merits of Rule 60(b)(6) Motion

               Inasmuch as Williams “adam[a]ntly opposes recharacterization of this petition for

relief of judgment, as a second or successive application under 28 U.S.C. § 2255,” (Docket No.

841), even if I were to consider Williams’s motion as a Rule 60(b)(6) motion, his proffered

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reasons for me to reconsider his motion (i.e. the two decisions in the Second Circuit) are

insufficient to meet the stringent requirements of Rule 60(b). See 11 Charles Alan Wright, Arthur

R. Miller & Mary Kay Kane, Federal Practice and Procedure § 2857 (2d ed. 1995) (noting that

generally, and particularly within the First Circuit, this higher standard of proof only applies to

Rule 60(b)(6) and does not apply to the other subsections of Rule 60(b)); Scola v. Boat Frances,

R., Inc., 618 F.2d 147, 154-55 (1st Cir. 1980) (finding that motion for reconsideration could not

come under Rule 60(b)(6) because “extraordinary circumstances” were not present). No

extraordinary circumstances exist in this case. Williams’s petition is therefore denied insofar as it

is styled as a Rule 60(b)(6) petition.




                                              ORDER

                For the foregoing reasons, it is ORDERED:

                Defendant’s Petition Pursuant to Fed.R.Civ.P. 60(b)(6) (Docket No. 841) is

DISMISSED.



                                                               _____/s/Robert E. Keeton________
                                                                      Robert E. Keeton
                                                               Senior United States District Judge




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